  Case 1:21-cr-00245-AJT Document 95 Filed 09/29/22 Page 1 of 1 PageID# 455




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division

UNITED STATES OF AMERICA,           )
                                    )
            v.                      )                  Case No. 1:21-cr-245-AJT-1
                                    )
IGOR Y. DANCHENKO,                  )
                                    )
                  Defendant.        )
____________________________________)

                                              ORDER
       It is hereby

       ORDERED that the following prospective jurors are excused for cause: Juror Numbers 3,

4, 6, 7, 9, 10, 11, 16, 17, 18, 21, 24, 25, 26, 27, 30, 31, 32, 36, 39, 40, 43, 45, 46, 47, 48, 50, 51,

53, 54, 55, 56, 63, 65, 67, 71, 72, 73, 75, 77, 80, 83, 87, 88, 90, 92, 94, 95, 100, 102, 103, 106,

109, 112, 117, 120, 122, 123, 126, 128, 131, 133, 135, 136, 141, 154, 157, 159, 160, 162, 163,

164, 168, 170, 171, 172, 173, 174, 175, 176, 178, 180, 189, 195, 196, 197, 199, 202, 204, 206,

207, 208, 215, 216, 220, 222, 224, 226, 228, 229, 230, 232, 233, 237, 239, 240, 241, 242, 246,

247, 249, 253, 256, 257, 258, 259, 261, 263, 264, 269, 271, 274, 275, 276, 277, 278, 283, 286,

287, 289, 290, 291, 292, 294, 295, 297, 299, 300.

       The Clerk is directed to forward a copy of this Order to all counsel of record.




Alexandria, Virginia
September 29, 2022
